          Case: 1:19-cv-05027 Document #: 10 Filed: 10/22/19 Page 1 of 1 PageID #:198                         5lt

                 Before the Honorable Deputy CF+q_ E D
                    United States District Court .cT z z*${p
                                for the Northern District of lllinois.

Roor Intomational Inc.BV and Sream.Inc.                                        .'EH8Ut'oBr'#I8U*'
               PLAINTTFT(S)
                     V.                                         Civil Action NO.19-CY-5027

LAKEVIEW TOBACCO INC/ LAKEYIEW SMOKE SHOP
arnllZE,B K KHAN

                       Defendant(s)


                                      ST}MMONS IN A CIVIL ^ICTTOX


Dear sir,
In response to the above SUMMON IN A CIYIL ACTION I have to submit that I have undergone Colon
Cancer surgerT on 5s of September 2019 and I have been asked by my Surgeon/ Doctor to take complete
rest and do not indulge in any activity till I have recovered the surgery wound fully, to avert any kind of
complications because it was a maior Surgery.

In view of the above facts you are therefore requested to please keep this case in abeyance
for at least 6 months. I hope to recover by this time and face the unwanted claim.
Thanking you
Sincerely yours
For Lakeview Tobacco Inc.
Lakeview Smoke Shop
 ko,L   t.4
ZebKKhan                                                           Dated. October l7r20l9


Copy to:-
Christopher V. Langone
Langone, Johnson & Cassidy
17 N. Wabash AYe., Ste 500
Chicago It 60602
